Case 3:12-cV-00326-T.]C-I\/|CR Document 1 Filed 03/26/12 Page 1 of 3 Page|D 1
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uNlTED sTATEs DlsTRICT couRT _
MIDDLE DISTRICT oF FLoRIDA ZB\Z HAR 26 Ptl 31 l .'
JACKSONVILLE DIVISION ram us nimmer cou:z‘:

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LUCI TAYLOR, _ill§::.§§avaLE°FL@R%GA

Plaintiff,
vs.

CIvlL AcTIoN No; .
UNlTED sTATES oF AMERICA, z( ll »Cl/ »' 590 /'S» ZQ~!V`CP-

Defendant. /

 

COMFLAINT

Plaintiff, LUCI TAYLOR, sues Defendants, THE UNlTED STATES OF AMERICA,

and alleges:

l. This is an action for damages in excess of Seventy Five Thousand ($75,000.00)
Dollars, exclusive of interest, costs, and attomey’s fees, and is brought pursuant to
the Federal Tort Claims Act, sections 1346(b) and 2671-2680, title 28, United States
Code.

2. Venue is proper in this Court because all of the wrongful acts occurred in this
judicial district in Jacksonville, Duval County, Florida.

3. All conditions precedent to the bringing of this action have been performed or
have been waived. (See attached notice of tort claim Exhibit A.)

4. 'l`his suit has been timely filed, in that Plaintiffs timely served notice of claim on
the United States Postal Service on July 19, 2011. The United States Postal

Service failed to admit or deny liability within six months.

Case 3:12-cV-00326-T.]C-I\/|CR Document 1 Filed 03/26/12 Page 2 of 3 Page|D 2

10.

At all times material to this action, Plaintiff, LUCI TAYLOR, was a natural person
residing in Duval County, Florida.

At all times material to this action, Defendant, THE UNlTED STATES OF
AMERICA, was in control of the United States Postal Service.

On or about August 27, 2010, Plaintiff was driving her vehicle traveling on
Bentwater Drive, in Jacksonville, Duval County, Florida, when her vehicle was
struck by a United States Postal Service vehicle operated by Daniel George
Waldon, United States Postal Service Driver, and owned by the THE UNlTED
STATES OF AMERICA.

At that time and place, Daniel George Waldon, the United States Postal Service
driver, was operating the vehicle negligently. The Defendant, THE UNITED
STATES OF AMERICA, was vicariously liable for the negligence of the United
States Postal Service driver, to exercise ordinary care and operate his vehicle
reasonably and prudently.

At said time and place, Defendant breached its duty owed to Plaintiff by
committing one or more of the following omissions or commissions:

(a) failing to timely apply the brakes;

(b) failing to maintain proper lookout;

(c) failing to turn the vehicle in an effort to avoid the collision; and

(d) driving the vehicle at the rate of speed that an ordinary and prudent person
would not have driven under the same or similar circumstances.

As a direct and proximate result of the negligence of Defendant, Plaintiff suffered

damage to her property.

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Case 3:12-cV-OO326-T.]C-I\/|CR Document 1 Filed 03/26/12 Page 3 of 3 Page|D 3

ll.

As a direct and proximate result of the negligence of Defendant, Plaintiff suffered
bodily injury in and about his body and extremities, resulting in pain and suffering,
disability, disfigurement, permanent and significant scarring, mental anguish, loss of
the capacity for the enjoyment of life, expense of hospitalization, medical and
nursing care and treatment, loss of earning and the loss of the ability to earn money.
The losses are either permanent or continuing and Plaintiff will suffer the losses in
the future.
WHEREFORE, the Plaintiff, LUCI TAYLOR, sues the Defendant, THE UNlTED
STATES OF AMERICA, for damages and demands judgment in excess of Seventy
Five Thousand Dollars ($75,()00.00), plus interest and costs, and demands trial of all
issues so triable.

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RESPECTFULLY submitted this day of March, 2012.

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